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FoR THE WEsTERN DISTRICT oF TENNESSEE 1 -

EASTERN DlvisIoN 5

 

DALTON DYER, a minor, by and
through his parents, JOSH DYER and
NICHOLE DYER; JOSH DYER

and NICHOLE DYER, Individually,

Plaintiffs, No. 1:05-10()4-JDT-tinp

VS.

SUSAN WALLACE, Individually;
HENDERSON COUNTY BOARD OF
EDUCATION,

Defendant.

 

ORDER GRANTING IN PART AND DENYING IN PART SUSAN WALLACE’S
MOTION TO DISMISS

 

Plaintiffs, Dalton Dyer and his parents, initially brought this action in the Circuit
Court for Henderson County, Tennessee, against Defendants Susan Wallace and the
Henderson County Board ofEducation (the “Board”). Plaintiffs alleged negligence, assault,
battery, negligent and intentional infliction of emotional distress, and violations ofDalton’S
civil rights under 42 U.S.C. § 1983. On January 6, 2005, the Board removed the case to this
court pursuant to 28 U.S.C. § 1441. Susan Wallace now moves the court to dismiss
Plaintift`s’ § 1983 claims that are based upon the Fourth and/or Eighth Amendment. For the

following reasons, Susan Wallace’s motion to dismiss Plaintiffs’ Eighth Amendment claim

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is GRANTED and her motion to dismiss Plaintiffs’ Fourth Amendrnent claim is DENIED.

I.

Dalton Dyer and his parents, Josh and Nichole Dyer (collectively “Plaintiffs”), are
residents ofHenderson County, Tennessee. At the time ot` the events leading to this lawsuit,
Dalton was three (3) years old. (w Pls.’ Compl. at W l, 8, 14). During early 2004, Dalton
began attending Beaver Elernentary School in Henderson County, Tennessee. (_S__e_e Pls.’
Compl. at im 7, 8). Because of a speech impediment from which Dalton suffered, Dalton
was considered a “special needs” student and the school placed him in a special education
class. (E Pls.’ Compl. at 111[ 9, ll, 12). Susan Wallace (“Wallace”) was the teacher
assigned to Dalton’s classroom. (§e_§ Pls. Compl. at il 14).

According to Plaintiffs, as soon as Dalton began attending Wallace’s class, Wallace
engaged in various forms of abuse directed toward Dalton and other students. Specifically,
Plaintit`fs allege that Wallace took advantage of her disciplinary authority over Dalton and
the other students by, among other things, screaming at Dalton uncontrollably and on a daily
basis, hitting Dalton with “flyswatters and yardsticks” and her hands, and committing “other
inappropriate and dangerous acts and disciplinary measures.” (w Pls.’ Compl. at ‘|l 16).
Plaintiffs have also suggested that Wallace may have required Dalton and other students to
“drink Water from a toilet.” (_Sg Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 2). These

alleged misdeeds took place on an uninterrupted basis until early to mid-2004, When the

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Board removed Wallace as a result of a related criminal investigation (w Pls.’ Compl. at
il 14).

Dalton filed suit in state court through his parents, who also brought an action in their
individual capacities (w Compl.). Plaintiffs named Wallace and the Board as Defendants.
Plaintiffs asserted claims under state tort law and under 42 U.S.C, § 1983. The Board then
removed Plaintiffs’ claims to this court.

Before the court is a motion, by Wallace, to dismiss two ofPlaintiffs’ § 1983 claims.
Wallace first moves to dismiss Plaintiff`s’ claim that her alleged actions constitute “cruel and
unusual punishment” under the Eighth Amendment. Wallace argues that the Eighth
Amendment is simply an improper constitutional framework within which to consider the
abusive conduct of a public school teacher toward her students Second, Wallace seeks
dismissal of Plaintif`fs’ claim that Wallace unreasonably “Seized” Dalton in violation of the
protections of the Fourth Amendment. In particular, Wallace contends that, because the
“principal concem” of the Fourth Amendment is “intrusions on privacy in the course of
criminal investigations,” (B Wallace’s Mem. Supp. Mot. to Dismiss at 2), the Fourth
Amen dment does not operate to protect public school students from excessive force inflicted
upon them by public school teachers who abuse their disciplinary authority Plaintiffs have
responded to both of these arguments (M Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at

3-6).

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II.

Wallace’s motion to dismiss is governed by Rule 12 ofthe Federal Rules of Civil
Procedure. Rule 12 provides for dismissal of an action when the complaint “fails to state
a claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). When deciding a
12(b)(6) motion to dismiss, the court “must construe the complaint in the light most
favorable to the plaintiff, accept all factual allegations as true, and determine whether the
plaintiff undoubtedly can prove no set of facts in support of [the] claims that would entitle
[the plaintiff] to relief.” Cline v. Rogers, 87 F.3d 176, 179 (6‘h Cir. 1996).

A person Who sues under § 19831 must establish two elements to prevail. First, the
plaintiff must show that he was deprived of a right secured by the United States Constitution
or the laws of the United States. Second, he must demonstrate that he was subjected or
caused to be subjected to the constitutional deprivation by a person acting under color of
state law. Davenport v. Simmons, 192 F. Supp.2d 812, 817-18 (W.D. Tenn. 2001) (citing

Searcv v. Citv of Dayton, 38 F.3d 282, 286 (6th Cir. 1994) (citing Flagg Bros. v. Brooks,

 

l§ 1983 provides, in relevant part, that,

[e]very person who, under color of any statute, ordinance,
regulation, custom, or usage, of any State or Territory or the
District of Columbia, subjects, or causes to be subjected, any
citizen of the United States or other person Within the jurisdiction
thereof to the deprivation of any rights, privileges, or immunities
secured by the Constitution and laws, shall be liable to the party
injured

42 U.S.C. § 1983.

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436 U.S. 149, 155 (1978))). Here, the issue is whether the allegations of the complaint,
taken as true and viewed in Plaintiffs’ favor, would constitute a violation of “a right [or

rights] secured by the United States Constitution” and remediable under § 1983.

III.
A. The Eighth Amendment

The Eighth Amendment to the United States Constitution provides that, “[e]xcessive
bail shall not be required, nor excessive fines imposed, nor cruel and unusual punishmean
fnjlz`cted.” U.S. CONST. amend. Vlll2 (emphasis added). The Supreme Court has concluded
that only a certain subcategory of “cruel and unusual” government behavior, or
“punishment,” violates the Eighth Amendment as opposed to some other constitutional
provision or to none at all. See, e.g., lngraham v. Wright, 430 U.S. 651 (1977).
Specifically, the Court has held that government conduct is not to be scrutinized under the
amendment unless and until the government has secured a formal adjudication of the
“punished” person’s guilt in a criminal prosecution E i_c_l. at 671 n.40 (citing United States
v. Lovett, 328 U.S. 303, 317-18 (1946). The Court’s reasoning was grounded in the text

and history of the amendment as well as in prior precedent E. at 664_68 (noting that the

 

2The amendment is applicable to the states and to state actors by virtue of the Due Process
Clause of the Fourteenth Amendment. §§ U.S. CONST. amend XIV, § 1 (“No State shall . . .
deprive any person of life, liberty, or property, without due process of law.”); Robinson v.
Califomia, 370 U.S. 660, 666 (1962); Louisiana ex. rel. Francis v. Resweber, 359 U.S. 459, 463
(1947).

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“primary purpose of [the Cruel and Unusual Punishments Clause] has always been
considered, and properly so, to be directed at the method or kind of punishment imposed for
violation of criminal statutes”) (quoting Powell v. Texas, 392 U.S. 514, 531-32 (1968)).

Despite the obvious meaning of lngraham as applied to the facts of this case,
Plaintiffs nonetheless argue that this court should either factually distinguish this case or
“change . . . the law.” Plaintiffs first argue that what Wallace allegedly did to Dalton was
subjectively more “cruel and unusual” than what happened to the petitioners in lngraham.
(w Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 3_4). Those petitioners, however,
claimed state conduct that was far more egregious than Plaintiffs acknowledge One
petitioner claimed that two assistant principals had grabbed him and hit him twenty (20)
times with a paddle, and the other petitioner claimed that he had been paddled on his arm,
back, neck, and wrist. See lngraham v .Wright_ 525 F.2d 909, 911 (5th Cir. 1976),af_f_`§, 430 ‘
U.S. 651 (1977). Thus, contrary to Plaintiffs’ attempt to draw a distinction between “mere”
corporal punishment and “cruel and unusual” corporal punishment, Ingraham did not base
its decision on any such distinction but instead simply held the Eighth Amendment
inapplicable to punishment, of whatever severity, inflicted by public school officials
exercising disciplinary authority in the public school system, In graham v. Wright, 430 U.S.
651, 671 (1977).

Plaintiffs also point out that Ingraham was decided almost three (3) decades ago and

that only five (5) Justices signed the majority opinion limiting the Eighth Amendment to the

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post-conviction treatment of criminal offenders (E Pls.’ Mem. Opp. Def.’s Mot. to
Dismiss at 4). Apparently, Plaintiffs consider the length of time that has transpired since
lngraham was decided as a factor that would justify changing instead of adhering to
precedent Even if the court agrees, neither time nor a persuasive dissent would permit this
court to disregard an unambiguous and applicable decision of the Supreme Court.

Last, Plaintiffs contend that, because of “the evolution of our society,” the Supreme
Court would likely hold that the abuse alleged in this case was cruel and unusual and
violated the Eighth Amendment. (M Pls.’ Mem. Opp. Wallace’s Mot. to Dismiss at 4).
in other words, Plaintiffs insist that society in 1977 may have accepted screaming, striking
with flyswatters and yardsticks and hands, and/or forcing students to drink from commodes
in 1977, but that society in 2005 would necessarily condemn such conduct by a public
school teacher. This argument is not persuasive because it confuses the question of whether
the Eighth Amendment is even a relevant limit on particular government conduct with the
question of whether conduct admittedly governed by the Eighth Amendment (such as the
execution of a prisoner) has become “cruel and unusual” under society’s “evolvin g standards
of decency.” w lngraham, 430 U.S. at 668 n.36 (noting that the concept of cruel and
unusual criminal punishment may “become[] enlightened by a humane justice”); sLalsQ
Rop_er v. Simmons, 125 S.Ct. 1183, 1190 (2005) (discussing “evolving standards of
decency” in the death penalty context). This case is concerned only with the first question,

and the answer to that question is controlled by Ingraham and not amenable to any evolving

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standards other than those enunciated by the Supreme Court itself.

lndeed, the factual allegations of Plaintiffs’ complaint do accuse Wallace ofserious,
severe, “cruel and unusual” conduct. (M Pls. Compl. and Mem. Opp. Wallace’s Mot. to
Dismiss). Viewing those accusations in Plaintiffs’ favor, the conduct was also arguably
imposed as some form of “punishment” against Dalton. Notwithstanding and assuming all
ofthis, such punishment by this defendant simply does not implicate the Eighth Amendment
The “plainti ff undoubtedly can prove no set of facts in support of [th e] [Eighth Amendment]
claims that would entitle [the plaintift] to relief.” M Cline v. Rogers, 87 F.3d 176, 179 (6th
Cir. 1996) (second brackets added).

Accordingly, Wallace’s Rule l2(b)(6) Motion to Dismiss Plaintiffs’ Eighth

Amendment claim is GRANTED.

B. The Fourth Amendment
Whether Plaintiffs have stated a claim under the Fourth Amendment presents a more
difficult question, That amendment grants “the people” a constitutional right “to be secure
in their persons . . . against unreasonable searches and seizures.” U.S. CONST. amend. IV.
lt has been incorporated into the Due Process Clause of the Fourteenth Amendment and thus
applies with equal force to both federal and state actors. See. e.iz., Mapp v. Ohio, 367 U.S.
643 (1961).

Under the Fourth Amendment, a seizure occurs when a government agent restrains

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a person’s freedom of movement in such a way that a reasonable person in the same position
would not feel free to walk away. See, e.g., Elwoski v. Citv of Brunswick, 287 F.3d 492,
506 (6‘l‘ Cir. 2002) (citing Michigan v. Chesternut, 486 U.S. 567, 573 (1988)). The
government agent must intentionally acquire physical control over the person seized S_eq,
gg_., i_c_l. (citing Brower v. Countv oflnvo, 489 U.S. 593, 596 (1989)). Additionally, unless
and until the person is successfully restrained by physical force or a show of authority, a
Fourth Amendment seizure has not transpired M. (citing California v. Hodari D., 499 U.S.
621 (1991)).

Wallace argues that the constitutional proscription of unreasonable seizures by
government agents is not controlling in cases where teachers are alleged to have used
excessive force as a means of maintaining control over a classroom (S_ee Wallace’s Mem.
Supp. Mot. to Dismiss at 2). lngraham, s_uB, did not resolve that question. §§ lngraham
v. Wright, 430 U.S. 651, 674 n.42 (1977). As pointed out by Wallace, the Court has in fact
noted that one of the Framers’ “principal concems” in drafting the Fourth Amendment was
“the pre-Revolutionary practice of using general warrants or ‘writs of assistance’ to
authorize searches for contraband by officers of the Crown.” New Jersey v. T.L.O., 469

U.S. 325, 335 (1985); see also lngraham, 430 U.S. at 674 n.42 (acknowledging that the

 

Fourth Amendment is especially concerned with government invasions of legitimate
expectations of privacy during the course of criminal investigations); Tennessee v. Garner,

471 U.S. 1, 7 (1985) (applying Fourth Amendment “seizure” analysis to the use of deadly

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force as a means of apprehending a criminal suspect).

The Fourth Amendment’s protection of legitimate expectations of privacy, bodily
m_ovement, and security is not as limited as Wallace suggests As noted by the Court in w
Jersey v. T.L.O., although the historical roots of the Fourth Amendment are found in the law
enforcement context, the “‘basic purpose of this Amendment, as recognized in countless
decisions of [the Supreme] Court, is to safeguard the privacy and security of individuals
against arbitrary invasions by government officials.”’ New Jersey v. T.L.O., 469 U.S. 325,
335 (1985) (citing Camara v. Municinal Court, 387 U.S. 523, 528 (1967)). Those interests
suffer as a result of intrusions by a government actor regardless of whether the government
actor’s motive is to enforce the criminal law as opposed to some other standard §§ E.
(citing Marshall v. Barlow’s. lnc., 436 U.S. 307, 312_13 (1978)). For these reasons, the
Court in M easily held that the Fourth Amendment protects public school children from
unreasonable searches carried out by school officials l_d at 334-37 (noting that school
officials carry out searches and perform other disciplinary functions as representatives of the
state and pursuant to state mandated disciplinary standards). This holding has been extended
beyond the search context to apply to forceful disciplinary “seizures” effected by school
teachers as well. See, e.g., Wallace v. Batavia School Dist., 68 F.3d 1010 (7th Cir. 1995).

Perhaps recognizing that the “original intent” argument was rejected in M,
Wallace relies on a decision of the Sixth Circuit in which the court of appeals held that the

student plaintiffs’ claims of sexual and physical abuse against a teacher and soccer coach

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were governed by the “Shocks the conscience” test of the “substantive due process”
component of the Fourteenth Amendment. (§ee Wallace’s Mem. Supp. Mot. to Dismiss at
2 n. 1) (citing Lillard v. Shelbv Countv Bd. ofEduc., 76 F.3d 716, 724-26 (6th Cir. 1996)).
In that case, the court of appeals explained that a plaintiff may allege two different types of
substantive violations by state actors under the Due Process Clause of the Fourteenth

Amendment,

The first type includes claims asserting denial of a right, privilege, or immunity
secured by the Constitution or by federal statute other than procedural claims under
‘the Fourteenth Amendment simpltctter.’

The other type of claim is directed at official acts which may not occur regardless of
the procedural safeguards accompanying them. The test for substantive due process
claims of this type is whether the conduct complained of ‘shocks the conscience’ of
the court.

Lillard v. Shelbv Countv Bd. of Educ., 76 F.3d 716, 724-26 (6th Cir. 1996) (intemal
citations omitted). ln other words, if a plaintiff is alleging that particular government action
violated a substantive right not covered by a particular constitutional provision or federal
statute, then his claim should be characterized as a “substantive due process” claim. lf, on
the other hand, a plaintiff alleges that a state actor has deprived him of “due process” by
violating an independent constitutional provision, such as the Fourth Amendment, the
standards applicable to that provision govern instead of the more vague standards that have

been articulated under the general notion of “substantive due process.”

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Lillard did not even address a claim that a public school teacher violated the Fourth

 

Amendment by using excessive disciplinary force to acquire control over students The
issue in that case was what “test” applies (“shocks the conscience” or some other level of
scrutiny) when an excessive force plaintiff is relying on the second type of substantive due
process claim noted above. L_ill_ar_d certainly does not stand for the proposition that students
must bring all excessive force claims against school officials under the same theory as the
MLI plaintiffs even if a more explicit constitutional provision applies lndeed, as noted
by Wallace in her Motion to Dismiss, the Supreme Court has been skeptical of the “shocks
the conscience” test and has instructed that when there is an “explicit textual source of
constitutional protection against . . . physically intrusive governmental conduct,” then Fourth
Amendment analysis should apply instead of “the more generalized notion of substantive
due process.” Graham v. Conner, 490 U.S. 3 86, 395 (1989) (internal citations and quotation
marks omitted). ln short, Plaintiffs Fourth Amendment claim is not foreclosed by M.

Here, Plaintiffs have alleged facts that, if believed, would justify a finding that
Wallace used her official authority to intentionally acquire physical and disciplinary control
over Dalton in a manner that was objectively unreasonable under the totality of
circumstances and that would lead a reasonable person in Dalton’s position to believe that
he was not free to leave. ln particular, Plaintiffs claim that Wallace “showed her authority”
by “[d]aily uncontrolled screaming,” by “forcefully striking Dalton’s person with

inappropriate objects . . . such as flyswatters and yardsticks,” by hitting Dalton with her

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hands, and by engaging in other inappropriate “disciplin ary measures.” lfWallace restrained
Dalton’s movement in the method alleged, she did so as a representative of the state seeking
to “enforce” the “law” of the classroom Like the school searches for cigarettes in I__L_O
were subject to Fourth Amendment analysis, this court concludes that the Fourth
Amendment could also apply to a school teacher’s use of force or other displays of
disciplinary authority to “seize” her students

Because Plaintiffs have alleged “a set offacts” that could support finding an unlawful
seizure of Dalton’s person in violation of the Fourth Amendment, Wallace’s 12(b)(6)

Motion to Dismiss that portion of Plaintiffs’ complaint is DENIED.

IV.
For the foregoing reasons, Wallace’s Motion to Dismiss Plaintiffs’ Eighth
Amendment claim is GRANTED and her Motion to Dismiss Plaintiffs ’ Fourth Amendment
claim is DENIED.

lT lS SO ORDERED.

Q@/m//iz). M

JA s D. r'or)D
TED srArEs DisTRrCr JUDGE

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DATE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case l:05-CV-01004 was distributed by fax, mail, or direct printing on
August 29, 2005 to the parties listed

 

 

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Honorable .l ames Todd
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